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                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                             For rules and forms visit
  Clerk of Court                                                             www.ca11.uscourts.gov


                                          January 10, 2025

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   Appeal Number: 25-10076-G
   Case Style: USA v. Waltine Nauta
   District Court Docket No: 9:23-cr-80101-AMC-2

                               CRIMINAL DOCKETING NOTICE

   The above-referenced appeal has been docketed in this Court. All documents filed in this appeal
   must include the Case Style and Appeal Number shown above.

   Appellant Requirements
   Unless the following requirements have already been satisfied, within 14 days of the date of
   this notice the appellant MUST:
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      1. Unless counsel was appointed to represent the appellant, pay to the District Court the
         Filing Fee OR File a Motion to Proceed In Forma Pauperis (IFP) in the district court.
         See FRAP 3(e), FRAP 24.

          If the filing fee is not paid and a motion to proceed IFP has not been filed in the
          district court within 14 days of the date of this notice, this appeal will be
          dismissed without further notice pursuant to 11th Cir. R. 42-1(b).

          If the district court has denied the appellant IFP status on appeal, the appellant
          has 30 days from the date of the district court's order to file an IFP motion in
          this Court. See FRAP 24(a)(5).

      2. File in the District Court a Transcript Order Form or a certificate stating no transcripts
         will be ordered. See FRAP 10(b) & the accompanying 11th Cir. IOP.

          If no transcripts are ordered, appellant's brief is due 40 days after 01/10/2025,
          except as otherwise provided by the rules. See 11th Cir. Rules 12-1 and 31-1.

      3. File a Certificate of Interested Persons and Corporate Disclosure Statement (CIP). See
         11th Cir. R. 26.1-1(a)(1).

      4. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

   Additional Appellant Requirements

      1. Guilty Plea Issue: If any issue concerning a guilty plea will be raised, the appellant must
         ensure that the record includes the transcript of the guilty plea colloquy and any written
         plea agreement. See 11th Cir. R. 30-1(a)(13).

      2. Sentencing Issue: If any issue concerning the sentence will be raised, the appellant must
         ensure that the record includes (a) the transcript of the sentencing proceeding, and (b)
         the presentence investigation report and addenda (under seal in a separate envelope). See
         11th Cir. R. 30-1(a)(14).

   Appellee Requirements
   Unless the following requirements have already been satisfied, within 28 days of the date of
   this notice, all appellees participating in this appeal MUST:

      1. File a CIP or a notice. See 11th Cir. R. 26.1-1(a)(3).

      2. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

   Electronic Filing
   All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
   unless exempted for good cause. Although not required, non-incarcerated pro se parties are
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   permitted to use the ECF system by registering for an account at www.pacer.gov. Information
   and training materials related to electronic filing are available on the Court's website.

   Obligation to Notify Court of Change of Addresses
   Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
   the party’s or attorney’s addresses during the pendency of the case. See 11th Cir. R. 25-7.

   Additional Information
   Rules, forms, and additional information, including a handbook for pro se litigants, can be
   found at www.ca11.uscourts.gov.

   Attorney Participation
   Only attorneys admitted to the bar of the Court and attorneys admitted for a particular
   proceeding may practice before the Court. See 11th Cir. Rules 46-1, 46-3, and 46-4. You may
   look up your bar admission status at https://www.ca11.uscourts.gov/bar-admission-status-look.
   The Application for Admission to the Bar and other forms and information can be found at
   https://www.ca11.uscourts.gov/attorney-forms-and-information.

   All attorneys (except court-appointed attorneys) who wish to participate in this appeal must file
   an Appearance of Counsel Form within 14 days of the date of this notice. See 11th Cir. R. 46-
   6(b). Please also see FRAP 46 and the corresponding circuit rules.

   Note to Retained Counsel
   Eleventh Circuit Rule 46-10(a) states, "Retained counsel for a criminal defendant has an
   obligation to continue to represent that defendant until successor counsel either enters an
   appearance or is appointed under the Criminal Justice Act, and may not abandon or cease
   representation of a defendant except upon order of the court."

   Motions to Withdraw
   Counsel who file a motion to withdraw from a criminal appeal must also comply with 11th Cir.
   R. 27-1(a)(7), (a)(8). In addition, a motion to withdraw as counsel stays only briefing on appeal;
   it does not stay other deadlines. See 11th Cir. R. 31-1(b).

   Clerk's Office Phone Numbers
   General Information: 404-335-6100          Attorney Admissions:         404-335-6122
   Case Administration: 404-335-6135          Capital Cases:               404-335-6200
   CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141



                                                                      CRIM 1 - Notice of Docketing
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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON

     UNITED STATES OF AMERICA,                   )
                                                 )
                          Plaintiff,             )
            v.                                   )
                                                 )
     WALTINE NAUTA, and                          )
     CARLOS DE OLIVEIRA,                         )
                                                 )
                          Defendants.            )
                                                 )

                                       NOTICE OF APPEAL

            The United States hereby appeals, to the United States Court of Appeals for the

     Eleventh Circuit, this Court’s Order and temporary injunction of January 7, 2025, ECF

     No. 682.

     Dated: January 9, 2025                          Respectfully submitted,

                                                     JACK SMITH
                                                     Special Counsel
                                                     Bar No. 2678084

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General


                                                     _s/ Elizabeth J. Shapiro
                                                     ELIZABETH J. SHAPIRO
                                                     D.C. Bar No. 418925
                                                     Special Bar ID #A5502352
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